      Case 3:08-cr-00106-PDW          Document 182        Filed 02/02/09     Page 1 of 10




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              SOUTHEASTERN DIVISION

United States of America,                      )
                                               )
                      Plaintiff,               )               Case No. 3:08-cr-106-6
                                               )
               -vs-                            )       MEMORANDUM OPINION AND
                                               )      ORDER GRANTING DEFENDANT’S
Sean Anthony Ogle,                             )          MOTION TO SUPPRESS
                                               )
                      Defendant.               )

       Before the Court is Defendant’s motion to suppress evidence seized as a result of a traffic

stop (Doc. #123 ). The United States filed a brief in opposition (Doc. #172). The Court held a

hearing on January 23, 2009. The Court, having considered all of the briefs and documents filed

by the parties as well as the evidence and arguments presented at the hearing, now issues this

memorandum opinion and order.

                                   SUMMARY OF DECISION

       The Court, having weighed the conflicting evidence, finds that the United States failed to

prove there was probable cause for the traffic stop. Accordingly, Defendant’s motion to

suppress evidence seized as a result of the stop is hereby GRANTED.

                                   FACTUAL BACKGROUND

        The United States had been investigating Jason Moe, Sean Ogle, and others for

distributing narcotics in the Fargo, North Dakota area for a couple of years. According to

testimony received at the suppression hearing, law enforcement officers began investigating a

drug trafficking conspiracy involving Moe beginning in October 2006. Approximately two

years later, on September 23, 2008, Moe and others were indicted in the District of North

Dakota for conspiracy to distribute and distribution of controlled substances. A Complaint
      Case 3:08-cr-00106-PDW           Document 182         Filed 02/02/09      Page 2 of 10




against Ogle and a warrant for his arrest were issued on October 2, 2008.

       Special Agent Orie Oksendahl testified as to the circumstances leading to the traffic stop

of Ogle and subsequent search of him and his vehicle that resulted in the discovery of drugs and

drug paraphernalia. Special Agent Oksendahl is employed with the Minnesota Bureau of

Criminal Apprehension and also assigned to the Drug Enforcement Administration task force in

Fargo, North Dakota. At the time of the traffic stop, Special Agent Oksendahl testified she was

working as a DEA agent.

       On October 1, 2008, Special Agents Oksendahl, Doug Henning, Jake May, and Mike

Kaneko of the BCA along with Minneapolis Police Officer David Garmen arrived at Moe’s

residence in Minneapolis, Minnesota to arrest Moe on drug conspiracy charges in North Dakota.

Special Agents Oksendahl and Henning drove together to the residence in an unmarked law

enforcement vehicle. The other officers drove in their own vehicles.

       As Special Agents Henning and Oksendahl approached Moe’s residence, Special Agent

Oksendahl observed a male walking out of the house. She recognized the male from a driver’s

license photograph as Sean Ogle. Ogle’s name had come up many times during the trafficking

investigation. Special Agent Oksendahl testified that Ogle was known to be one of Moe’s co-

conspirators. By this time in the investigation, law enforcement officers had talked to several

individuals that indicated Ogle was their source of methamphetamine.

       Special Agents Henning and Oksendahl continued driving slowly toward Moe’s

residence. Special Agent Oksendahl watched Ogle walk to a Honda Civic, which was parked in

the street in front of the residence. She cannot recall if it was a two-door or a four-door vehicle.

Nevertheless, Special Agent Oksendahl believed Ogle was the owner of the Civic. She


                                                  2
      Case 3:08-cr-00106-PDW           Document 182         Filed 02/02/09      Page 3 of 10




continued to observe Ogle as they were driving. Special Agent Oksendahl witnessed Ogle get

into the driver’s side of the vehicle for a brief period of time and then walk back toward Moe’s

house. The agents then circled the block.

       When the agents approached Moe’s residence for the second time, Special Agent

Oksendahl saw Ogle slowly driving his vehicle away from the curb. She observed that Ogle was

not wearing a seatbelt as he drove away. At this point, the agents discussed with each other and

were on the radio discussing whether they should stop Ogle. Special Agent Oksendahl testified

that she knew Ogle could not be legally stopped for the seatbelt violation if this was the only

violation because it is a “secondary” violation. Thus, the agents continued to follow Ogle’s

vehicle.

       As the agents followed Ogle, Special Agent Oksendahl testified she witnessed Ogle turn

left without signaling. She further testified that Ogle made another left turn and a right turn, but

could not recall if he signaled. The agents stopped Ogle for violating traffic laws. Special Agent

Oksendahl testified that while the officers had a lot of information about Ogle’s drug trafficking,

it was not a factor in deciding to stop Ogle. She further testified that the reason for the stop was

because Ogle failed to signal when turning left. Nonetheless, the law enforcement officers’

reports indicate Ogle was stopped for not wearing his seatbelt and for a nonfunctional taillight.1

Special Agent Henning informed Ogle in an recorded interview that he was stopped for a



       1
         Special Agent Oksendahl conceded at the hearing that she did not observe a taillight out.
However, the report she prepared at the time of the stop referenced a nonfunctional taillight as
the basis for the stop. She attributed the error to “miscommunication” between herself and
Special Agent Henning. She thought Special Agent Henning had said Ogle’s taillight was out or
not working. She “misunderstood what [Special Agent Henning] said as [they] were observing
Mr. Ogle.”

                                                  3
      Case 3:08-cr-00106-PDW            Document 182         Filed 02/02/09       Page 4 of 10




seatbelt violation. Thus, not a single report prepared by any of the officers mentions failure to

use a turn signal as basis for stopping Ogle’s vehicle. The first time the turn signal violation is

proffered as the reason for the stop was in response to the suppression motion.

        After Ogle was stopped, the agents asked Ogle if he would talk to them. After being

advised he was not under arrest and was free to leave, Ogle agreed to sit in the backseat of the

agents’ vehicle. Once the interview began, Ogle expressed a desire to get a soda from his car.

Special Agent Henning walked to Ogle’s vehicle and retrieved the soda. Special Agent

Oksendahl does not recall if Ogle told the agents where to find the soda. As the interview

progressed, the agents asked Ogle for his cell phone number. Ogle stated he could not recall his

number, but he could get it if he had his phone from the vehicle. Special Agent Henning

returned to Ogle’s vehicle to get Ogle’s cell phone. On this visit Special Agent Henning

reported seeing a bag of marijuana in plain view in Ogle’s vehicle. Upon the discovery of

marijuana, Ogle was considered “in custody” by the agents.

        Ogle’s person and vehicle were searched incident to the arrest. The vehicle search

uncovered three small bags of marijuana, three small bags of methamphetamine, and blotter

papers thought to contain LSD. A search of Ogle uncovered a bag of methamphetamine and a

glass pipe used for smoking methamphetamine. Ogle seeks to suppress all evidence discovered

as a result of the traffic stop.

                                     LAW AND ARGUMENT

        Defendant Ogle argues that the officers had no reasonable and articulable suspicion to

stop his vehicle, that the stop was really a pretext to investigate drug activity, and that all

evidence obtained as a result of the stop should be suppressed as “fruit of the poisonous tree.”


                                                   4
      Case 3:08-cr-00106-PDW           Document 182        Filed 02/02/09      Page 5 of 10




       The United States makes two arguments in response: 1) the minor traffic violations gave

the officers probable cause to stop Ogle’s vehicle; and 2) the officers’ collective knowledge of

Ogle’s drug trafficking activities was sufficient to provide probable cause to stop the vehicle and

provides “an equally justified basis” for stopping the vehicle.

       A.      Probable Cause For the Traffic Violations

       It is well settled that stopping an automobile and detaining its occupants constitutes a

seizure within the meaning of the Fourth Amendment. Johnson v. Crooks, 326 F.3d 995, 997

(8th Cir. 2003). Thus, an automobile stop is subject to the constitutional imperative that it not be

“unreasonable.” Id. (quoting Whren v. United States, 517 U.S. 806, 810 (1996)). To determine

whether a stop was based on probable cause, the standard is one of “objective reasonableness.”

United States v. Pereira-Munoz, 59 F.3d 788, 791 (8th Cir. 1995) (quoting United States v.

Miller, 20 F.3d 926, 929 (8th Cir. 1994)).

       Any traffic violation, even a minor one, gives an officer probable cause to stop the

violator. United States v. Bell, 86 F.3d 820, 822 (8th Cir. 1996). The government has the

burden of proving law enforcement officers had probable cause for the stop. United States v.

Andrews, 454 F.3d 919, 722 (8th Cir. 2006). A pretextual traffic stop, however, violates the

Fourth Amendment. Pereira-Munoz, 59 F.3d at 791.

       To determine whether the United States met its burden in this case, the Court must weigh

conflicting evidence. On one side is the testimony from Special Agent Oksendahl. She testified

that the primary basis for stopping Ogle was for a turn signal violation. On the other side are the

law enforcement officers’ reports prepared contemporaneously with the stop as well as a

recorded interview with Ogle, neither of which mentions failure to signal as a basis for the stop.


                                                 5
      Case 3:08-cr-00106-PDW            Document 182        Filed 02/02/09       Page 6 of 10




       The Court finds it significant that not a single report stated that failure to signal was a

basis for the stop. In addition, Special Agent Oksendahl told Ogle during a recorded interview

that the reason for the stop was a seatbelt violation. It was unrefuted that the first time the

government proffered the turn signal violation as a basis for the stop was in response to the

suppression motion. Moreover, when questioned during the hearing, Special Agent Oksendahl

testified that at the time of the stop her main concern was the traffic violations Ogle allegedly

committed. Nevertheless, neither she nor any of the other officers apparently correctly reported

the basis that would give probable cause for the traffic stop. The agent’s explanation for the

error was “miscommunication” and a “misunderstanding” as to what they were observing.

       After having the opportunity to consider the testimony and the parties’ arguments, the

Court finds more credible all the written documentation and the recorded interview completed

within days of the stop then the conflicting testimony given three months after the stop. In

rejecting the testimony from the United States that Ogle was stopped for a turn signal violation,

the remaining bases to support the traffic stop include a “nonfunctional taillight” and failure to

wear a seatbelt. Neither one is sufficient to justify the stop. Special Agent Oksendahl conceded

at the hearing that she did not observe a taillight out and the agents did not rely on a

“nonfunctional taillight” as a basis for the stop. Thus, probable cause to support the stop cannot

derive from the alleged taillight violation that no one now believes occurred.

       As to the seatbelt violation, Special Agent Oksendahl testified that she observed Ogle

driving without a seatbelt. Her testimony regarding the seatbelt violation is consistent with the

reports and other evidence. However, when Special Agent Oksendahl stopped Ogle, she knew

that failure to wear a seatbelt is a “secondary” violation and she needed something more to


                                                  6
      Case 3:08-cr-00106-PDW            Document 182         Filed 02/02/09      Page 7 of 10




lawfully stop Ogle. While probable cause can be based on a mistaken belief that there was a

violation to justify a stop, see United States v. Payne, 534 F.3d 948, 951 (8th Cir. 2008), in this

case, there has been no mistake. Special Agent Oksendahl knew that Ogle must commit some

other violation before there was probable cause to stop him. Thus, the agents knew the seatbelt

violation, alone, was an insufficient basis to lawfully stop Ogle. Having not convinced the Court

that there was any other traffic violation, the agents lacked probable cause to stop Ogle.

       While the Court is cognizant that any minor traffic violation provides probable cause for

a traffic stop, Bell, 86 F.3d at 822, the Court concludes that the United States failed to meet its

burden of proof. The Court finds the testimony at the hearing three months after the stop less

credible and insufficient to overcome all the reports and statements made contemporaneously

with the stop. Because the United States failed to establish a traffic violation sufficient to justify

a stop, the stop was in violation of the Fourth Amendment. Accordingly, evidence seized as a

result of the traffic stop and Ogle’s arrest is hereby suppressed.

       B.      Collective Knowledge of the Officers

        Collective knowledge of law enforcement officers is sufficient to provide reasonable

suspicion and can be imputed to the officer initiating the traffic stop when there is some

communication between the officers. United States v. Thompson, 533 F.2d 964, 969 (8th Cir.

2008). The United States argues that the collective knowledge of the DEA agents is an

independent basis to justify the stop of Ogle’s vehicle.

       In this case, the evidence is clear that law enforcement officers, including Special Agent

Oksendahl herself had developed information that Ogle was involved in drug trafficking.

However, it is also clear that Ogle was not stopped based on the agents’ knowledge of his drug


                                                  7
      Case 3:08-cr-00106-PDW          Document 182        Filed 02/02/09      Page 8 of 10




trafficking. Special Agent Oksendahl repeatedly testified that she did not stop Ogle based on her

or other officers’ knowledge of drug trafficking:

               Q.     Well, what was the - - not the purpose, what was the reason for
                      stopping the vehicle?

               A.     For not using the turn signal and the secondary violation of the no
                      seat belt.

                      ***

               Q.     So you said something like we stopped you for a seat belt violation
                      but we’re done with that now. Do you recall that?

               A.     Yes, meaning done with the traffic violation portion of it.

               Q.     Right. I mean, that really wasn’t the big concern to you, right?
                      The traffic violation itself?

               A.     Well, that was the reason we stopped him.

               Q.     And I’m not going to make a big deal out of it but wasn’t the real
                      reason because he was leaving Mr. Moe’s residence and you had
                      been investigating him for drug trafficking and you were interested
                      in the information about drug trafficking? Isn’t that really the
                      goal?

               A.     The reason we stopped him was because of the traffic violations
                      and we did have all this information on him, yes. But the reason
                      that he was stopped was because of the traffic violations.

                      ***

               Q.     And when you initially observed these traffic violations and you
                      and Agent Henning decided to pull him over, was your intention at
                      that point to arrest him for any type of drug activity?

               A.     No. I believe we probably could have but that wasn’t our intention
                      at the time.

       The determination of whether probable cause exists is not to be made from the vantage of

hindsight. See United States v. Coney, 456 F.3d 850, 857 (8th Cir. 2006) (stating whether

                                                8
      Case 3:08-cr-00106-PDW            Document 182         Filed 02/02/09      Page 9 of 10




probable cause exists is not to be made with the vision of hindsight, but instead by looking to

what officers reasonably knew at the time); see also United States v. Ferguson, 8 F.3d 385, 391

(6th Cir. 1993) (noting that a court cannot find probable cause exists if an officer testifies that he

did not see a traffic violation or did not have probable cause to believe a violation occurred, but

only discovered after the stop or the arrest that there was a violation to support a finding of

probable cause); United States v. Garcia, 450 F.Supp. 1020, 1024 (E.D.N.Y. 1978) (stating court

cannot view the stop of defendant from the vantage of hindsight and conclude the stop was

reasonable because it was later developed that the agents’ suspicions were justified).

       In this case, the Court has the benefit of the testimony from one of the officers that

effectuated the stop. She testified that even though the agents had knowledge of Ogle’s alleged

drug trafficking, Ogle’s suspected drug activity played no role in the decision to stop his vehicle.

The United States has had the substantial benefit of hindsight and asserts that the traffic stop

was lawful because it was based on the officers’ collective knowledge of the drug trafficking

investigation; however, the evidence is to the contrary. According to the testimony, the officers

did not rely on their drug trafficking investigation in deciding to stop Ogle’s vehicle. According

to Special Agent Oksendahl, the reason for stopping Ogle was because of the traffic violations.

Thus, the agents stopped Ogle solely to enforce traffic laws and then decided to try to talk to

him. Special Agent Oksendahl specifically testified that her concern at the time of the stop was

not Ogle’s alleged involvement in drug trafficking. It is clear that probable cause to stop Ogle

was based solely on alleged traffic violations.

       In order to accept the United States’ argument that the stop is justified because of the

officers’ collective knowledge of Ogle’s drug trafficking, the Court would be required to ignore


                                                  9
     Case 3:08-cr-00106-PDW            Document 182        Filed 02/02/09      Page 10 of 10




the testimony so that it can rationalize, in hindsight, a lawful basis for the stop. Probable cause

determinations are to be made by what the officers reasonably know at the time of the stop.

Coney, 456 F.3d at 857. Further, the traffic stop must be objectively reasonable. Pereira-

Munoz, 59 F.3d at 791. While the officers might have known about Ogle’s suspected drug

trafficking activities, they did not rely on their investigative information when they stopped him.

According to the agent’s testimony, Ogle was stopped because he violated traffic laws. It is not

objectively reasonable to validate a stop based on hindsight vision when the newly proffered

basis is contrary to the evidence. As such, the Court rejects the United States’ argument

regarding the officers’ collective knowledge. Because the officers lacked probable cause to stop

Ogle’s vehicle for traffic violations and testified they were not stopping him for his suspected

drug trafficking, the Court concludes the stop violated the Fourth Amendment and any evidence

seized as a result must be suppressed.

                                         CONCLUSION

       Based on the foregoing reasons, the Court finds the United States failed to establish

probable cause to stop Ogle’s vehicle. Accordingly, Defendant’s motion to suppress is

GRANTED. Any evidence seized as a result of the traffic stop must be excluded as “fruit of the

poisonous tree.”

       IT IS SO ORDERED.

       Dated this 2nd day of February, 2009.

                                              /s/ Ralph R. Erickson
                                              Ralph R. Erickson, District Judge
                                              United States District Court




                                                 10
